                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                  3:11-cv–604-RJC
                                (3:09-cr-153-RJC-2)

WILFREDO ANDUJAR,                   )
                                    )
            Petitioner,             )
                                    )
                v.                  )                               ORDER
                                    )
UNITED STATES OF AMERICA,           )
                                    )
            Respondent.             )
____________________________________)

       THIS MATTER is before the Court on consideration of Petitioner’s Motion to Vacate,

Set Aside or Correct Sentence under 28 U.S.C. § 2255, (Doc. No. 1); the Government’s Motion

to Dismiss, (Doc. No. 7); and Petitioner’s Response, (Doc. No. 9). For the reasons that follow,

Petitioner’s Section 2255 motion will be denied and dismissed.

I.   BACKGROUND

       On August 18, 2009, Petitioner was indicted by the grand jury sitting in the Western

District on one count of conspiracy to distribute and to possess with intent to distribute at least

one kilogram of heroin, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(A). (3:09-cr-153, Doc.

No. 29). The Government filed Informations pursuant to 21 U.S.C. § 851 listing two prior

Illinois convictions for possession of more than 15-grams of heroin. (Id., Doc. Nos. 32, 52).

Thus, Petitioner was exposed to a mandatory life sentence upon conviction. 21 U.S.C. §

841(b)(1)(A).

       Petitioner entered a plea agreement wherein he admitted his prior convictions were valid

predicate felony drug offenses and acknowledged the applicable mandatory life sentence. (Id.,


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Doc. No. 71 at ¶ 4). However, the Government agreed to withdraw one prior conviction,

reducing Petitioner’s exposure to a mandatory minimum sentence of twenty years, if Petitioner

fully complied with the terms of the Plea Agreement. (Id.). Petitioner’s guilty plea was accepted

by a magistrate judge on November 23, 2009, based on a finding that it was knowing and

voluntary. (Id., Doc. No. 72: Acceptance and Entry of Guilty Plea at 5). On December 6, 2010,

the Government moved to withdraw one of the prior convictions listed in the § 851 notice. (Id.,

Doc No. 116). The Court granted the motion and sentenced Petitioner to the mandatory 240

months’ imprisonment and later entered its Judgment on December 28, 2010. (Id., Doc. No. 117

at 1-2).

           Petitioner did not directly appeal, but rather timely filed the instant § 2255 motion

contending his counsel was ineffective for failing to challenge the prior felony drug conviction

based on the Supreme Court’s June 14, 2010, decision in Carachuri-Rosendo v. Holder, 130 S.

Ct. 2577, and the United States Court of Appeals for the Fourth Circuit’s August 17, 2011,

decision in United States v. Simmons, 649 F.3d 237 (4th Cir. 2011) (en banc). (Doc. No. 1 at 4-

5). The Government moved to dismiss the motion on the basis that counsel acted according to

controlling law, (Doc. No. 7), and Petitioner responded, (Doc. No. 9). The matter is now ripe for

decision.

II. STANDARD OF REVIEW

           Pursuant to Rule 4(b) of the Rules Governing Section 2255 Proceedings, sentencing

courts are directed to promptly examine motions to vacate, along with “any attached exhibits and

the record of prior proceedings” in order to determine whether a petitioner is entitled to any

relief. The Court has considered the record in this matter and applicable authority and concludes



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that this matter can be resolved without an evidentiary hearing. See Raines v. United States, 423

F.2d 526, 529 (4th Cir. 1970).

III.       DISCUSSION

       Petitioner argues that his counsel was ineffective for failing to challenge the use of a prior

Illinois drug offense to increase the mandatory minimum sentence and for advising him to enter

the Plea Agreement waiving his right to appeal the resulting sentence. (Doc. No. 1: Motion at 4-

5).

       In order to establish a claim for ineffective assistance of counsel, the burden is on the

petitioner to demonstrate that: (1) “counsel’s representation fell below an objective standard of

reasonableness,” and (2) “the deficient performance prejudiced the defense.” Strickland v.

Washington, 466 U.S. 668, 687-88 (1984). In measuring counsel’s performance, there exists a

“strong presumption that counsel’s conduct falls within a wide range of reasonable professional

assistance.” Id. at 689. A petitioner raising this claim of ineffective assistance bears a “heavy

burden” to overcome this presumption. See Carpenter v. United States, 720 F.2d 546, 548 (8th

Cir. 1983). Conclusory allegations are insufficient to overcome the presumption of competency.

Id. A petitioner must demonstrate not only “a reasonable probability that, but for counsel’s

unprofessional errors, the result of the proceeding would have been different,” but also that “the

result of the proceeding was fundamentally unfair or unreliable.” Sexton v. French, 163 F.3d

874, 882 (4th Cir. 1998) (quoting Strickland, 466 U.S. at 694 and Lockhart v. Fretwell, 506 U.S.

364, 369 (1993)). Finally, counsel is not “ineffective for following controlling circuit law at the

time” the legal advice is provided. United States v. McNamara, 74 F.3d 514, 515 (4th Cir. 1996).




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        Petitioner incorrectly notes in his motion that he was sentenced on December 5, 2011.

(Doc. No. 1 at 1). The date is important because Petitioner was actually sentenced on December

6, 2010, (3:05-cr-253, Doc. No. 117: Judgment at 1), eight months before the Fourth Circuit filed

its en banc decision in Simmons on August 17, 2011. Therefore, counsel cannot be considered

ineffective for failing to advise Petitioner according to a case that had not yet been decided.

Additionally, Simmons was based on the “unique statutory regime mandated by the North

Carolina Structured Sentencing Act,” 649 F.3d at 240; thus, it does not purport to speak to the

Illinois state law at issue in this case.

        The Supreme Court had decided Carachuri before the sentencing date. However,

Petitioner has not shown that the result in that case affects his own. In Carachuri, the Court

        held that the question of whether a prior conviction is an “aggravated felony” as
        used in the Immigration and Nationality Act (“INA”) must be resolved by looking
        at the offense for which the defendant was actually convicted, not the offense for
        which he could have been convicted in light of his conduct.


United States v. Powell, 691 F.3d 554, 555 (4th Cir. 2012). Looking at the offense for which

Petitioner was actually convicted, the Government notes in its Motion to Dismiss that the Class 4

felony was punishable by not less than one year and not more than three years. (Doc. No. 7 at 5

citing 730 Ill. Comp. Stat. 5/5-4.5-45(a). Petitioner has yet to apply Carachuri to the sentencing

scheme in place in Illinois at the time of his prior conviction to establish that his prior drug

conviction was not a “felony.” Therefore, he has failed to carry his burden to show counsel’s

actions were constitutionally ineffective in failing to challenge the prior conviction and advising

Petitioner to enter the Plea Agreement.




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IV. CONCLUSION

       IT IS, THEREFORE, ORDERED that:

       1.      Petitioner’s Motion to Vacate, Set Aside or Correct Sentence under 28 U.S.C. §

2255 is DENIED and DISMISSED. (Doc. No. 1).

       2.      Respondent’s Motion to Dismiss Petitioner’s Section 2255 motion is

GRANTED. (Doc. No. 7).

       IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules Governing

Section 2255 Cases, the Court declines to issue a certificate of appealability as Petitioner has not

made a substantial showing of a denial of a constitutional right. 28 U.S.C. § 2253(c)(2); Miller-

El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in order to satisfy § 2253(c), a petitioner must

demonstrate that reasonable jurists would find the district court’s assessment of the constitutional

claims debatable or wrong).

                                                             Signed: March 22, 2013




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